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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS


LYNNEL COX, as administrator of the estate of
Shayne R. Stilphen,

       Plaintiff,

v.                                                   No. 1:22-CV-11009

BOSTON POLICE DEPARTMENT, ISMAEL
ALMEIDA, PAUL MICHAEL BERTOCCHI,
CATIA FREIRE, and JOHN/JANE DOES NOS.
1-2, et al.

       Defendants.


                           NOTICE OF APPEARANCE

      Please enter the appearance of Mathew R. Segal, of the American Civil

Liberties Union Foundation of Massachusetts, Inc., as counsel for the plaintiff

Lynnel Cox in the above-captioned action.



Dated: June 30, 2022                        Respectfully submitted,

                                            /s/ Matthew R. Segal
                                            Matthew R. Segal (BBO #654489)
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